                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 1:14-MC-4-LRR
                                                       No. 1:13-CR-23-LRR-1
 vs.                                                           ORDER
 KENNY EMILIO SALGUERO,
               Defendant.
                                ____________________

       After notice and a hearing, this court found Defendant Kenny Emilio Salguero in
contempt of court pursuant to 28 U.S.C. §§ 6001-6003. Defendant was represented by
attorney Mark Meyer. The court remanded him to the custody of the United States
Marshal to be confined at a suitable place until such time as he purged himself of this
contempt by giving testimony pursuant to the court’s prior orders. The court ordered that
his confinement not exceed the life of the term of the Grand Jury, including extensions,
but in no event was it to last longer than eighteen months. The court also ordered that the
term of confinement for this contempt not be credited toward the service of his criminal
sentence imposed on September 23, 2013 in case 1:13-CR-23-LRR-1.
       Following the contempt finding the court set a status hearing for March 3, 2014,
to urge Defendant to purge his contempt by testifying pursuant to the court’s prior orders.
At the status hearing Defendant confirmed through counsel his decision not to testify.
       The Grand Jury’s original expiration date was September 10, 2014. However, the
term has been extended to permit the Grand Jury to finish a pending investigation not
related to Defendant. The court decided not to confine Mr. Salguero on this contempt
beyond the original expiration date of September 10, 2014.




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  Therefore the court ORDERS:
        (1)   Defendant’s confinement for contempt of court will end September
              10, 2014 at midnight.
        (2)   The United States Bureau of Prisons shall not give Defendant credit
              against his sentence in United States v. Salguero, No. 1:13-CR-23-
              LRR-1 (N.D. Iowa 2013) for the time confined for this contempt
              (February 3, 2014 through September 10, 2014).
        (3)   The Clerk of Court shall send a copy of this order to the United States
              Bureau of Prisons and the United States Marshal for the Northern
              District of Iowa.
  IT IS SO ORDERED.
  DATED this 3rd day of September, 2014.




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